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SMALL BUSINESS ADMINISTRATION

Small Business Investment Company License Issuance

AGENCY: U.S. Small Business Administration.

ACTION: Notice of Small Business Investment Company (SBIC) Licenses.

Pursuant to the authority granted to the United States Small Business Administration under
section 301(c) of the Small Business Investment Act of 1958, as amended, to grant Small
Business Investment Company licenses under the Small Business Investment Company Program,
this notice satisfies the requirement effective August 17, 2023 under 13 CFR 107.501(a) to
publish in the Federal Register the names of SBICs with date of licensure and Total Intended
Leverage Commitments. The following SBICs received SBIC licenses from August 17, 2023,

through December 31, 2023:

8/2023 Ox
Champlain Capital Partners IV, L.P. 9/21/2023 2.0x
Firmament Partners SBIC IV, L.P. 9/21/2023 2.0x
IMB Partners SBIC I, L.P. 10/17/2023 Non-leveraged
015 Emerging America Credit Opportunities Fund, LP. | 10/17/2023 2.0x
Cyprium SBIC I, L.P. 11/05/2023 2.0x
Everside SBIC I, L.P. 11/28/2023 2.0x
MCM Capital Partners IV, L.P. 12/13/2023 0.5x
Farragut SBIC Fund I, L.P. 12/20/2023 2.0x
Pelion Ventures VIII Financial Institutions Fund 12/29/2023 1.25x

‘Maximum amount of Leverage expressed as a multiple of Leverageable Capital pursuant to 13 CFR 107.1150.
For all SBIC Licensees that submitted a Management Assessment Questionnaire after August 17, 2023, the Notice
of SBIC Licenses will include the Total Intended Leverage Commitment at the time of Licensure.

Bailey DeVries,
Associate Administrator,
Office of Investment and Innovation.

U.S. Small Business Administration
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